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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA.                          INDICTMENT            CR     aotrt WsIBzl.
                     Plaintiff.                     18 U.S.C. S 371
                                                    18 u.s.c. s 844(il
       v.

 DYLAN SIIAKESPEARE ROBINSON.
 DAVON DE.ANDRE TURNER,
 BRYCE MICIIAEL WILLIAMS, and
 BRANDEN MICI{AEL WOLFE.

                     Defendants.


       THE UNITED STATES GRAND JURY CHARGES TIIAT:

                                     COUNT     I.
                            (Conspiracy To Commit Arson)

       1.     On or about May 28, 2020, in the State and District of Minnesota, the

defendants,

                      DYI"AN SHAKESPEARE ROBINSON,
                         DAVON DE-ANDRE TURNER,
                       BRYCE MICHAEL WILLIAMS, and
                         BRANDEN MICHAEL WOLFE,

knowingly and intentionally conspired with each other and others known and

unknown to the grand jury to damage and destroy, and attempt to damage and

destroy, by means of fire, a building used in interstate and foreign commerce and in

activity affecting interstate and foreign commerce, in violation of Title 18, United

States Code, Section 844(1), all in violation of Title 18, United States Code, Section

37L.



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                           PURPOSE OF THE CONSPIRACY

       2.      The purpose of the conspiracy was to commit an act of arson at the

Minneapolis Police Third Precinct building located in the city of Minneapolis, in the

District of Minnesota.

                                   MANNER AND MEANS

       3.      It was part of the conspiracy that on May 28, 2O2O, the defendants
Robinson, Turner, Williams and Wo1fe, joined each other, and other co-conspirators

who had gathered near the Minneapolis Police Department Third Precinct building

in the city of Minneapolis, in the District of Minnesota and thereafter set, attempted

to set, and agreed to set, fires in the Third Precinct building in the District of
Minnesota.

                                        OVERT ACTS

       4.      In furtherance of the conspiracy and to achieve its object, the defendants

committed, directly and through co-conspirators, certain overt acts, including but not

limited to the following:

       a.      On May 28,2020, Robinson, Turner, Williams and Wolfe all went to the

Third Precinct building where hundreds of others had gathered. The crowd became

increasingly unruly as the night of May 28, 2020 wore on. At one point, the crowd

began shouting, 'oBurn      it   down, burn   it   down," referring to the Minneapolis Police

Third Precinct building. Soon afber, a fence that was designed to keep trespassers out

of the Thfud Precinct building was torn down. Robinson, Turner, Williams and Wolfe,
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along with unidentifi.ed others, breached the fence and entered the Third Precinct

Building and the immediate curtilage.

         b.     Robinson, assisted by an unidentified co-conspirator,           lit   an incendiary

device being held by the unidentified co-conspirator and threw               it toward the Third
Precinct building with the intent that          it would start a fi.re or fuel an existing   fi.re.

                Williams and Turner, assistedby an unidentifi.ed co-conspirator, worked

together to light a Molotov cocktail which they intended to be used to start or further

accelerate a fire. The Molotov cocktail was taken into the Third Precinct building by

Turner and was used to start a fi.re. Williams later threw a box on an existing                       fi.re

located just outside the Third Precinct building entry doors.

         d.     Wolfe pushed a barrel into a fi.re located in the entrance of the Third

Precinct building that had been set by other unidentifi.ed co-conspirators, and he did

so   with the intent to accelerate the existing fi.re.

         e.     Robinson, Turner, Williams and Wolfe and other unidentified co-

conspirators all worked together in furtherance of their common goal of damaging

and destroying the Minneapolis Third Precinct building by fire in violation of Title

18, United States Code Section 844(1).

         AII in violation of Title   1"8"   United States Code" Section 371.

                                             A TRUE BILL




UNITED STATES ATTORNEY                                 FOREPERSON
